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      -and-
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14

15                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION

17    In re:                                            Bankr. Case No. 19-30088 (DM)
                                                        Chapter 11
18    PG&E CORPORATION,                                 (Jointly Administered)
19
               -and-                                    DECLARATION OF BENJAMIN P.
20                                                      MCCALLEN IN SUPPORT OF THE AD
      PACIFIC GAS AND ELECTRIC                          HOC GROUP OF SUBROGATION
21    COMPANY,                                          CLAIM HOLDERS’ MOTION FOR
                       Debtors.                         RELIEF FROM THE AUTOMATIC
22
                                                        STAY
23    ☐ Affects PG&E Corporation
                                                        Date:    July 24, 2019
      ☐ Affects Pacific Gas and Electric Company
24                                                      Time:    9:30 a.m. (Pacific Time)
       Affects both Debtors
                                                        Place:   United States Bankruptcy Court
25                                                               Courtroom 17, 16th Floor
      * All papers shall be filed in the lead case,
                                                                 San Francisco, CA 94102
26    No. 19-30088 (DM)
27                                                      Objection Deadline: July 19, 2019 at 4:00 p.m.

28

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                                                      3
 1        I, Benjamin P. McCallen, declare as follows:

 2             1.   I am a member of the Firm of Willkie Farr & Gallagher LLP. I am counsel to certain
 3
      members of the Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc Subrogation
 4
      Group”). I submit this Declaration in Support of the Ad Hoc Subrogation Group’s Motion to Lift
 5
      the Automatic Stay.
 6
               2.   Attached hereto as Exhibit 1 is a true and correct copy of the Joint Case Management
 7

 8    Conference Statement, California North Bay Fire Cases, JCCP No. 4955 (Cal. Super. Ct. Oct. 22,

 9    2018).
10             3.   Attached hereto as Exhibit 2 is a true and correct copy of the California Dep’t of
11
      Forestry & Fire Protection, Sonoma-Lake Napa Unit, Investigation Report: Tubbs Incident (Jan. 20,
12
      2019) (the “Cal Fire Report”), as well as Attachment J to the Cal Fire Report.
13
               4.   Attached hereto as Exhibit 3 is the Master Complaint for the Individual Plaintiffs,
14

15    California North Bay Fire Cases, JCCP No. 4955 (Cal. Super. Ct. Mar. 12, 2018).

16             5.   Attached hereto as Exhibit 4 is the Master Complaint for the Subrogation Plaintiffs,

17    California North Bay Fire Cases, JCCP No. 4955 (Cal. Super. Ct. Mar. 12, 2018).
18             6.   Attached hereto as Exhibit 5 is a true and correct copy of Nicholas J. Nauslar, John T.
19
      Abatzoglou, & Patrick T. Marsh, The 2017 North Bay and Southern California Fires: A Case
20
      Study, FIRE 2018 (Jun. 9, 2018).
21
               7.   Attached hereto as Exhibit 6 is a true and correct copy of PG&E’s Response to the
22

23    CPUC’s Safety and Enforcement Division’s 10/14/17 Questions (Oct. 17, 2017).

24             8.   Attached hereto as Exhibit 7 is a true and correct copy of the CPUC’s decision in

25    Application of San Diego Gas & Elec. Co. for Review of its Proactive De-Energization Measures
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                                                       -1-
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                                                     3
 1    and Approval of Proposed Tariff Revisions (U902E), Application 08-12-021, CAL. PUB. UTILITIES

 2    COMM’N (Issued Sept. 18, 2009).
 3
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
 4
      and correct and that I would be competent to testify thereto if called upon to do so.
 5

 6
     Executed on the 3d day of July, 2019 at New York, New York.
 7

 8

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10
                                                       /s/ Benjamin P. McCallen ___________
11                                                     Benjamin P. McCallen
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